 Case 2:18-cv-12562-SJM-SDD ECF No. 4 filed 09/25/18                 PageID.62      Page 1 of 2



                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF MICHIGAN

                                      )
MAHESH VEER SATYA TOLAPU,             )
individually and on behalf of all others similarly
                                      )
situated,                             )
                                      )
                Plaintiff,            )
                                      )
      v.                                Case No. 2:18-cv-12562-SJM-SDD
                                      )
                                      )
SYNTEL, INC., BHARAT DESAI,
                                      )
PRASHANT RANADE, PARITOSH
                                      )
CHOKSI, THOMAS DOEKE, RAKEESH
                                      )
KHANNA, RAJESH MASHRUWALA,
                                      )
VINOD K. SAHNEY, REX E.
                                      )
SCHLAYBAUGH, JR., NEERJA SETHI, ATOS,
                                      )
S.E., GREEN MERGER SUB, INC.
                                      )
                                      )
                Defendants.
                                      )

                                 NOTICE OF VOLUNTARY DISMISSAL
                                PURSUANT TO FED R. CIV. P. 41 (a)(1)(A)

          Notice is hereby given that, pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil

Procedure, plaintiff Mahesh Veer Satya Tolapu (“Plaintiff”) voluntarily dismisses this action

with prejudice as to Plaintiff only and without prejudice as to the putative class. This notice of

dismissal is being filed before service by Defendants of either an answer or a motion for

summary judgment. Since no class has been certified and the dismissal is with prejudice to

Plaintiff only and without prejudice as to all other members of the putative class, notice of this

dismissal is not required.




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          Respectfully submitted this 24th day of September, 2018.

                                                     Respectfully submitted,

                                                      ANTHONY L. DELUCA, PLC

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                                                      Anthony L. DeLuca
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